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                                  UNITED STATES DISTRICT COURT
 1
                                          DISTRICT OF NEVADA
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 3
      PATRICIA MCMANUS,                                     Case No. 2:19-cv-02240-RFB-BNW
 4
                             Plaintiff,
 5                                                             ORDER REGARDING IN-PERSON
            v.                                                 EARLY NEUTRAL EVALUATION
 6
      HOMEGOODS, INC., a foreign corporation;
 7    THE TJX COMPANIES, INC., a foreign
      corporation; DOES 1 through 100; and ROE
 8    ENTITIES A through Z, inclusive,
 9                           Defendant.
10

11          IT IS HEREBY ORDERED that an in-person Early Neutral Evaluation Session (“ENE”) will

12   be conducted in the fourth floor conference room and jury room of the Lloyd D. George United States

13   Courthouse, 333 Las Vegas Boulevard South, Las Vegas, Nevada on Monday, June 11, 2020. Plaintiff

14   must report to the chambers of the undersigned United States Magistrate Judge, Room 4068, at 9:00

15   a.m. Defendant must report to the chambers of the undersigned at 9:30 a.m.

16          The Court is closely following and reinforcing the guidelines from the CDC and other relevant

17   health authorities and is taking precautionary measures to limit the potential spread of the COVID-19

18   virus. For example:

19          •    ALL VISITORS TO THE COURTHOUSE WILL BE REQUIRED TO
                 MAINTAIN A SOCIAL DISTANCE OF AT LEAST SIX FEET AND
20               EITHER WASH THEIR HANDS OR USE HAND SANITIZER BEFORE
                 ENTERING A COURTROOM.
21
            •    IF A PROCEEDING IS INSIDE THE COURTROOMS, CHAIRS,
22               TABLES, AND MICROPHONES THAT HAVE BEEN UTILIZED WILL
                 BE CLEANED AFTER EACH PROCEEDING. COUNSEL MAY
23               BRING DISINFECTANT WIPES TO CLEAN THE SURFACE AREAS
                 UTILIZED TO THEIR OWN COMFORT LEVEL AS WELL.
24
            •    ENE ATTENDEES MAY BRING AND WEAR PERSONAL
25               PROTECTIVE EQUIPMENT INCLUDING FACE MASKS AND
                 GLOVES OR OTHER PROTECTIVE COVERINGS AS DESIRED.
26
            •    DOCUMENTS THAT WILL BE REFERENCED OR UTILIZED
27               DURING THE ENE SESSION MUST BE EMAILED TO
                 Emily_Santiago@nvd.uscourts.gov by JUNE 4, 2020.
28
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 1       IF YOU DO NOT FEEL WELL, CONTACT EMILY SANTIAGO AT THE EMAIL

 2   ADDRESS   ABOVE    SO     THAT   THIS   ENE    MAY   BE   RESCHEDULED   OR

 3   ARRANGEMENTS TO ATTEND IT REMOTELY MAY BE MADE. DO NOT COME TO

 4   THE COURTHOUSE IF YOU ARE EXPERIENCING FLU-LIKE SYMPTOMS SUCH AS

 5   A COUGH, FEVER, OR SHORTNESS OF BREATH, OR IF YOU HAVE BEEN IN

 6   CONTACT WITH ANYONE WHO HAS BEEN RECENTLY DIAGNOSED WITH A

 7   COVID-19 INFECTION. REFER TO TEMPORARY GENERAL ORDER 2020-02 FOR

 8   ADDITIONAL COURTHOUSE-ACCESS POLICIES AND PROCEDURES.

 9       DATED: May 15, 2020

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11                                     ELAYNA J. YOUCHAH
                                       UNITED STATES MAGISTRATE JUDGE
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